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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION

AMERICAN HOME ASSURANCE COMPANY,                  §
AS SUBROGEE OF                                    §
ARCELORMITTAL TEXAS HBI LLC, ET AL.               §
                  Plaintiff,                      §
                                                  §
VS.                                               §
                                                  § CIVIL ACT. NO. 2:24-cv-00182
MIDREX TECHNOLOGIES INC.;                         §
SIEMENS INDUSTRY, INC.; LEXICON, INC.;            §
PRIMETALS TECHNOLOGIES USA LLC;                   §
ALTRAD SERVICES LIMITED; AND                      §
ALTRAD SERVICES LIMITED,                          §
f/k/a ALTRAD YORK LININGS LIMITED,                §
                     Defendants.                  §
                                                  §   JURY TRIAL DEMANDED


                 PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE DISTRICT COURT JUDGE:

       Plaintiff, AMERICAN HOME ASSURANCE COMPANY, AS SUBROGEE OF

ARCELORMITTAL TEXAS HBI LLC, ARCELORMITTAL USA HOLDINGS III LLC,

AND ARCELORMITTAL HBI HOLDINGS LLC (“Plaintiff”) complains of Defendants

MIDREX TECHNOLOGIES INC.; SIEMENS INDUSTRY, INC.; LEXICON, INC.;

PRIMETALS TECHNOLOGIES USA LLC; ALTRAD SERVICES LIMITED; and

ALTRAD SERVICES LIMITED, formerly known as ALTRAD YORK LININGS

LIMITED (collectively referred to as “Defendants”), respectfully showing the Court as

follows:




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                                     I.     PARTIES

1.     Plaintiff, American Home Assurance Company, is incorporated in New York with

its principal place of business in New York. Plaintiff is a citizen of the State of New

York and no other states. Plaintiff is an eligible foreign insurer. Plaintiff files this cause

as the subrogee and in the name of ArcelorMittal Texas HBI LLC, ArcelorMittal USA

Holdings III LLC, and ArcelorMittal HBI Holdings, LLC (collectively “Arcelor”).

2.     Defendant Midrex Technologies, Inc. (“Midrex”) is a Delaware Corporation doing

business in the State of Texas, with its principal place of business in North Carolina.

Lexicon is a citizen of both Delaware and North Carolina and no other states.

3.     Defendant Siemens Industry, Inc. (“Siemens”) is a Delaware Corporation doing

business in the State of Texas, with its principal place of business in Georgia. Siemens is

a citizen of both Delaware and Georgia, and no other states.

4.     Defendant Lexicon, Inc. (“Lexicon”) is an Arkansas corporation doing business in

the State of Texas, with its principal place of business in Arkansas. Lexicon is a citizen

of the State of Arkansas, and no other states.

5.     Defendant Primetals Technologies USA LLC (“Primetals”) is a Delaware

Corporation doing business in the State of Texas, with its principal place of business in

Georgia. Primetals is a citizen of both Delaware and Georgia, and no other states.

6.     Defendant Altrad Services Limited is a United Kingdom limited company doing

business in the State of Texas, with its headquarters located in York, United Kingdom.

Altrad Services Limited is a citizen of the United Kingdom and not a citizen of any state.

Upon information and belief, Altrad Services acquired the assets and liabilities of Altrad



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York Linings Limited after the incident made the basis of this suit.1 Therefore, Altrad

Services Limited is the successor in interest to Altrad York Linings Limited.

7.     Defendant Altrad York Linings Limited, (“Altrad”) is a United Kingdom limited

company doing business in the State of Texas, with its headquarters located in York,

United Kingdom. Altrad is a citizen of the United Kingdom and not a citizen of any state.

                           II.     JURISDICTION AND VENUE

8.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332 because there is complete diversity of parties and the amount in controversy

exceeds $75,000.00, exclusive of interests and costs. No Defendant is a citizen of the

same state as Plaintiff.

9.     This Court has general jurisdiction over the Defendants as they have conducted

systematic and continuous business activities in the State of Texas and this District and

Division.

10.    Venue is properly in this District and Division pursuant to 28 U.S.C. §1391(a)

because the Defendants conducted business within this District and Division within the

meaning of 28 U.S.C. §1391(a) and because the events giving rise to this cause of action

occurred in this District and Division.

                            III.   FACTUAL BACKGROUND

11.    Arcelor’s iron reduction plant, located in Corpus Christi, Texas, is one of the

largest iron reduction plants in the world, and the largest in the United States. With a

capacity of two million tons of iron production per year, this plant makes use of the

1 “Altrad” as used throughout this pleading means “Altrad Services Limited” and/or “Altrad York

Linings Limited.”


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Midrex process for reducing iron, turning iron ore, in the form of iron oxide pellets, into

usable, useful iron by way of a gas-shaft furnace that, by application of heat and gases,

removes the oxygen bound to the iron, leaving behind the now purified iron which is then

turned into hot briquetted iron, an ideal feedstock for the exacting needs of the American

steel industry. As is to be expected, a process on this scale is reliant on a mixture of

exceptional technology and the skill of the workers involved in the process, with every

piece of the plant expected to be held to the highest standards of build quality to ensure

not only a quality product but also to protect both the workers and surrounding

community against the dangers inherent in such high temperature and pressure

applications.

12.    This suit is brought as a result of a fire that took place on or about August 14,

2022, at Arcelor’s direct reduced iron plant located at 2800 Kay Bailey Hutchinson Road,

Portland, Texas 78374. A vertical expansion joint located on the bustle gas line, an

essential component in the Midrex iron reduction process, suffered a failure of the

refractory material and the insulation lining the interior of the expansion joint, resulting

in a rupture in the joint and a fire that necessitated an emergency shutdown of the line

and ultimately the replacement of the entire joint.       Thankfully, quick and capable

emergency work on the part of the plant’s staff prevented any loss of life or damage to

the surrounding area, but, unfortunately, the plant itself suffered significant damages that

necessitated major repair. As a result, Plaintiff’s insured, Arcelor, sustained significant

damages. Nothing Arcelor did caused or contributed to the failure of the expansion joint




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joint, and Arcelor took appropriate steps to mitigate the damages caused as a result of the

failure of the expansion joint.

13.    This failure resulted in total economic damages totaling $6,952,791.51 as a

consequence of the property damage, interruption of business, and reasonable and

necessary costs to repair the plant to its ordinary working condition prior to the failure.

14.    The expansion joint, and the refractory material, insulation, and metal components

within the expansion joint, was designed, manufactured, sold, and installed by

Defendants.

                 IV.    FIRST CAUSE OF ACTION: NEGLIGENCE

15.    Plaintiff incorporates the allegations set forth in the previous paragraphs.

16.    The plant and its components were constructed by Siemens, Lexicon, Primetals,

and Altrad, operating under the instruction and guidance of Midrex. Midrex, being the

licensor of the Midrex process, provided the designs for the construction performed by

both Midrex and the other four defendants. Midrex further continued their involvement

with the plant in the form of ongoing inspections which nonetheless failed to identify the

defective materials installed under their watch.

17.    The negligence of Defendants, acting by and through their agents, vice-principals,

and/or employees, caused the injury to Arcelor as described below.

18.    Defendants owed a duty to the general public and the owners and operators of the

plant to use ordinary care in the design, manufacture, sale, warnings, and installation of

the reduction plant and its component parts. The event was proximately caused by the

negligence of Defendants in failing to enact and adhere to the standards of ordinary care



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for a company engaged in the construction and installation of refractory materials, the

adherence to which would have prevented this accident. Defendants therefore failed to

use ordinary care by, among others, the following ways:

    As to all defendants, failure to employ reasonable quality assurance methods in the

      manufacture of the expansion joint;

    As to Midrex and Altrad, failure to employ reasonable quality assurance methods

      in the manufacture of the refractory lining;

    As to all parties, failure to employ reasonable quality assurance methods in the

      construction and installation of the expansion joint;

    As to Midrex and Altrad, failure to inspect the expansion joint for defects;

    As to all parties, failure to employ precautionary procedures to prevent installation

      of defective materials;

    As to Altrad, failure to properly mix the refractory substrate;

    As to Midrex and Altrad, failure to properly test the refractory substrate for

      quality;

    As to Altrad, failure to properly apply the refractory substrate;

    As to all parties, failure to properly test the application of the refractory substrate;

    As to all parties, failure to inspect the refractory substrate;

    As to Altrad, failure to train their employees in the proper mixing of refractory

      substrate;

    As to Altrad, failure to supervise their employees in the proper mixing of

      refractory substrate;


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       As to Altrad, failure to properly train their employees in the proper application of

         refractory substrate;

       As to Altrad, failure to properly supervise their employees in the proper

         application of refractory substrate;

       As to Midrex and Altrad, failure to adequately warn of the dangers of the

         improperly installed refractory lining;

       As to Midrex and Altrad, failure to adequately warn of the dangers of the

         improperly installed insulation layer;

       As to Midrex and Altrad, failure to instruct their employees in the methods to

         construct a refractory lined pipe; and

       As to all parties, failure to warn the purchaser of the latent defects in the

         manufactured products which were not reasonably discoverable by the end user.

But for the breach of these duties to use ordinary care as a professional entity engaged in

the business of plant construction and iron reduction manufacturing components, the

accident would not have taken place and the damages accrued therefrom would not have

been incurred.

19.      Plaintiff would show that the conditions and/or instrumentalities involved in the

incident complained of herein were under the management and control of the Defendants,

and/or their agents, servants, and employees.       Plaintiff would further show that the

character and the event causing Arcelor’s damages would not ordinarily occur in the

absence of negligence and, under these circumstances, the Defendants’ negligence can be

inferred under the doctrine of Res Ipsa Loquitor.


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      V.    SECOND CAUSE OF ACTION: STRICT PRODUCTS LIABILITY

20.    Plaintiff incorporates the allegations set forth in the previous paragraphs.

21.    The expansion joint, designed and manufactured by Defendants Midrex and

Altrad, respectively, was defective, and Defendants are liable to Arcelor under a theory of

strict products liability on the basis of a design and/or manufacturing defect.

22.    The joint in question was a composite structure of metal and refractory material

which was supposed to have been a cast structure free of defects as per the designs from

Midrex for use in their production system. Upon information and belief, the design was

by Midrex, with the construction of refractory portion of the joint itself by Altrad and the

final assembly transported to the plant for installation.

23.    The manufacture of the expansion joint deviated in its construction or quality from

the specifications or planned output in a manner that made it unreasonably dangerous for

its intended use in the Midrex process of direct iron reduction.          This product, the

expansion joint, was defective when it left the hands of the manufacturers, the

Defendants. The expansion joint reached the plant without substantial change in the

condition in which it was originally manufactured and sold, and was not materially

altered in any way that would affect the dangerous conditions caused and created by

Defendants.

24.    These defects were the producing cause of the damages to Arcelor. At the time of

the manufacturing of the joint, a safer alternative design existed that was available and

economically viable, without diminishing the utility of the product, and the safer




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alternative design would have in reasonable probability prevented the damages in

question, or greatly reduced their severity.

25.    Nothing Arcelor did caused or contributed to the expansion joint being

unreasonably dangerous, and the expansion joint was used only for the intended purposes

for which it was designed and as Arcelor was directed by Defendants.

                                     VI.     DAMAGES

26.    Plaintiff incorporates the allegations in the previous paragraphs.

27.    By reason of the occurrence made the basis of this action, including the combined

conduct on the part of the Defendants, Arcelor suffered significant economic damages to

their real and personal property, as well as additional costs necessitated in the necessary

shutdowns to business and reasonable costs incurred in the retention of specialist

companies to repair and replace the destroyed expansion joint.

28.    The costs incurred as a result of the Defendants’ failures to properly design,

manufacture and/or install the expansion joint were reasonable and necessary.

29.    At all times material, Arcelor and its property were covered by a policy of insurance

with Plaintiff. Pursuant to the terms of the policy, after application of a deductible, Plaintiff

was called upon to make payments to and/or upon behalf of Arcelor. Accordingly, Plaintiff

has become subrogated to Arcelor’s claims and damages against the Defendants herein, to

the extent of payment.      Plaintiff further seeks to recovery Arcelor’s deductible from

Defendants, as allowed under the insurance policy.

30.    Defendants are jointly and severally liable to Plaintiff for the damages incurred

and paid.



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                                  VII.   JURY DEMAND

29.    Plaintiff demands a jury trial.

                                         PRAYER

       WHEREFORE Plaintiff prays for judgment against Defendants in an amount not

less than the sum of $6,952,791.51, with pre- and post- judgment interest as allowed by

law, that it recover its taxable costs of court, and such other and further relief, at law and

in equity, to which it may be justly entitled.


                                           Respectfully submitted,


                                           _/s/ Charles T. Kelly__________
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                                           COMPANY, AS SUBROGEE FOR
                                           ARCELORMITTAL TEXAS HBI LLC AND
                                           ARCELORMITTAL USA HOLDINGS III LLC




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